                                 Case 4:19-cv-00337-BRW Document 1-1 Filed 05/08/19 Page 1 of 1

    JS44 (Rev.02/19)                                                                            CIVIL COVER SHEET                                        I-/.' Jq -c_v-                           33 7 -                  BRW
    The JS 44 civil cover sheet and the infonnation contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXJ' PAGE OF THIS FORM.)
    I. (a) PLAINTIFFS                                                                                                              DEFENDANTS
    LINDSEY HUFF AND CHRIS HUFF                                                                                                 ALLSTATE PROPERTY AND CASUALTY INSURANCE COMPANY

        (b) County of Residence of First Listed Plaintiff                               Faulkner County, Arkansas                 County of Residence ofFirst Listed Defendant                     State of Illinois
                                      (EXCEPT IN US. PLAINTIFF CASES)                                                                                                (IN US. PLAINTIFF CASES ONLY)
                                                                                                                                  NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                             THE TRACT OF LAND INVOLVED.


        (C)    Attom_!lYS (.Firm Name, Address and Tetn,ho,:,e Number)                                                            Attorneys (If Known)
    Andrew M. I aylor, Tasha C. Taylor-Taylor & Taylor Law Finn, P.A.                                                           J. Cotten Cunningham - Barber Law Finn PLLC
    12921 Cantrell Road, Suite 205, Little Rock, AR 72223                                                                       425 West Capitol Avenue, Suite 3400, Little Rock, AR 72201-3483
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    II. BASIS OF JURISDICTION (Place an "X"inOneBoxOnly)                                                              III. CITIZENSHIP OF PRINCIPAL PARTIES(Placean "X"inOneBoxforPlaintiff
                                                                                                                              (For Diversity Cases Only)                                             and One Box for Defendant)
    •   I   U.S. Government               •    3      Federal Question                                                                                 PfF             DEF                                          PfF      DEF
               Plaintiff                                     (US. Government Not a Party)                                Citizen of This State               ~ I       •         Incorporated or Principal Place              •      4      •    4
                                                                                                                                                                                   of Business In This State

    •   2   U.S. Government                  ~4       Diversity                                                          Citizen of Another State            •   2     •     2   Incorporated and Principal Place             •      5      ~5
               Defendant                                     (Indicate Citizenship ofParties in Item III)                                                                           of Business In Another State

                                                                                                                                                             •   3     •     3   Foreign Nation                               •      6      •    6

    IV NATURE OF SuIT (Place an "X" in One Box Only)
I                        .                                                                                                                               .              Click here for: Nature of Suit Code Descrintions.
                                                                                                                                                                                            ;I             • • 111 •• N   ~   a,·I       ,.,..       I

    ~ II OInsurance                           PERSONAL INJURY                                 PERSONAL INJURY           •   625 Drug Related Seizure             •   422 Appeal 28 USC 158           •  375 False Claims Act
    •   120 Marine                       •    310 Airplane                               •    365 Personal Injury -             of Property 21 use 881           •   423 Withdrawal                  •  376 Qui Tam(31 USC
    •   130 Miller Act                   •    315 Airplane Product                                Product Liability     •   690 Other                                    28 USC 157                          3729(a))
    •   140 Negotiable Instrument                  Liability                             •    367 Health Care/                                                                                       •  400 State Reapportionment
    •   150 Recovery of Overpayment      •    320 Assaul~ Libel &                                 Pharmaceutical                                                                  • -••.;.-·•-,      •  410 Antitrust
            & Enforcement of Judgment              Slander                                        Personal Injury                                                •   820 Copyrights                  •  430 Banks and Banking
    •   151 Medicare Act                 •    330 Federal Employers'                              Product Liability                                              •   830 Patent                      •  450 Commerce
    •   152 Recovery of Defaulted                  Liability                             •    368 Asbestos Personal                                              •   835 Patent - Abbreviated        •  460 Deportation
                                         •                                                                                                                                                           •
    •
            Student Loans
            (Excludes Veterans)
        153 Recovery of Overpayment
            of Veteran's Benefits
                                         •
                                         •
                                              340Marine
                                              345 Marine Product
                                                   Liability
                                              350 Motor Vehicle                          •
                                                                                                  Injury Product
                                                                                                  Liability
                                                                                             PERSONAL PROPERTY
                                                                                              370 Other Fraud           •
                                                                                                                                     ... _...
                                                                                                                            710 Fair Labor Standards
                                                                                                                                                                 •
                                                                                                                                                                 •
                                                                                                                                                                         New Drug Application
                                                                                                                                                                     840 Trademark

                                                                                                                                                                     861 HIA ( 1395ft)              •
                                                                                                                                                                                                        4 70 Racketeer Influenced and
                                                                                                                                                                                                             Corrupt Organizations
                                                                                                                                                                                                     CJ 480 Consumer Credit
                                                                                                                                                                                                        485 Telephone Consumer
    •   160 Stockholders' Suits          •    355 Motor Vehicle                          •    371 Truth in Lending               Act                             •   862 Black Lung (923)                    Protection Act
    •   190 Other Contract                        Product Liability                      •    380 Other Personal        •   720 Labor/Management                 •   863 DIWC/DIWW (405(g))         •   490 Cable/Sat TV
    •   195 Contract Product Liability   •    360 Other Personal                                  Property Damage                Relations                       •   864 SSID Title XVI             •   850 Securities/Commodities/
    •   196 Franchise                             Injury                                 •    385 Property Damage       •   740 Railway Labor Act                •   865 RSI ( 40S(g))                       Exchange
                                         •    362 Personal Injury -                               Product Liability     •   751 Family and Medical                                                  •   890 Other Statutory Actions
                                                  Medical Maloractice                                                            Leave Act                                                          •   89 I Agricultural Acts
I             REALPROP•u•y                         •• v ••     u ••..:. ...-1-...                      Poe 1·1TION!il   •   790 Other Labor Litigation                           .TJ.VSU(TS         •   893 Environmental Matters
    •   210 Land Condemnation            •    440 Other Civil Rights                          Habeas Corpus:            •   791 Employee Retirement              •   870 Taxes (U.S. Plaintiff      •   895 Freedom oflnfonnation
    •   220 Foreclosure                  •    441 Voting                                 •    463 Alien Detainee                Income Security Act                      or Defendant)                       Act
    •   230 Rent Lease & Ejectment       •    442 Employment                             •    510 Motions to Vacate                                              •   871 IRS-Third Party            •   896 Arl>itration
    •   240 Torts to Land                •    443 Housing/                                        Sentence                                                               26USC7609                  •   899 Administrative Procedure
    •   245 Tort Product Liability                Accommodations                         •    530 General                                                                                                    Act/Review or Appeal of
    •   290 All Other Real Property      •    445 Amer. w!Disabilities -                 •    535 Death Penalty                            '"TON                                                             Agency Decision
                                                  Employment                                 Other:                     •   462 Naturalization Application                                          •   950 Constitutionality of
                                         •    446 Amer. w/Disabilities -                 •   540 Mandamus & Other       •   465 Other Jnunigration                                                           State Statutes
                                                  Other                                  •   550 Civil Rights                   Actions
                                         •    448 Education                              •   555 Prison Condition
                                                                                         •   560 Civil Detainee -
                                                                                                 Conditions of
                                                                                                 Confinement

    V. ORIGIN           (Placean "X"inOneBoxOnly)
    0 I     Original          O 2 Removed from                               0      3   Remanded from             0 4 Reinstated or         O 5 Transferred from                 O 6 Multidistrict              0 8 Multidistrict
            Proceeding            State Court                                           Appellate Court               Reopened                  Another District                     Litigation -                   Litigation -
                                                                                                                                                    (s ci                            Transfer                      Direct File
                                               Cite the U.S. Civil Statute under which you are filing (Do not citejurisdlctional statutes unless iHversity):
                                                28 U.S.C.                        1332
    VI. CAUSE OF ACTION t-B-n-·e-f-de-s-cr-ip...ti""on-of_c_a-use-:- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                                Breach of Contract
    VII. REQUESTED IN                          •        CHECK IF THIS IS A CLASS ACTION                                     DEMANDS                                          CHECK YES only if demanded in complaint:
         COMPLAINT:                                     UNDER RULE 23, F.R.Cv.P.                                                                                             JURY DEMAND:         ?I( Yes    ONo
    VIII. RELATED CASE(S)
                                                     (See instructions):
          IF ANY                                                                         JUDGE                                                                       DOCKET NUMBER
    DATE
    05/08/2019                                                                                                                                         · -·J. Cotten Cunningham, Attorney for Defendant
    FOR OFFICE USE ONLY                                                                           ,/     .
        RECEIPT#                      AMOUNT                                                   ~PPL YING IFP                                     JUDGE                                    MAG.JUDGE
